                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




DONALD J. TRUMP FOR PRESIDENT, INC.


v.                                                           Case No.:    20-5533



PHILADELPHIA COUNTY BOARD OF ELECTIONS


            COMPLAINT AND MOTION FOR EMERGENCY INJUNCTION
        1.      This action is brought by Donald J. Trump for President, Inc. against the
Philadelphia County Board of Elections to seek an emergency injunction to prevent an ongoing
violation of Plaintiff’s Constitutional rights, including at least the right to Due Process.
      2.      This action is brought pursuant to 42 U.S.C. Section 1983, for violation by the
Defendant of Plaintiff’s Constitutional rights under color of state law.
       3.       Pennsylvania law as determined by the Commonwealth’s highest available court
requires that representatives and poll watchers to be present and observe the canvassing of all
mail-in and absentee ballots.
        4.     The County Board of Elections is aware of this Order but is intentionally refusing
to allow any representatives and poll watchers for President Trump and the Republican Party.
The County Board of Elections is nonetheless continuing to count ballots, without any
observation by any representatives or poll watchers of President Trump and the Republican
Party.
       5.      The County Board of Elections is intentionally violating state law. The County
Board of Elections claims it is “studying” the Order. It has been studying the Order for over an
hour and a half, while counting continues with no Republicans present.
         6.     This conduct constitutes an intentional violation of the Plaintiff’s Constitutional
rights, including at least the right to Due Process as guaranteed by the Fourteenth Amendment to
the United States Constitution.
       WHEREFORE, Plaintiff seeks an Emergency Injunction barring the Defendant County
Board of Elections from continuing to count any ballots so long as Republican observers are not
present as required by state law.
        An injunction is necessary because the harm from Defendant’s continuing conduct is
irreparable.


                                                   Respectfully submitted
                                                   /s/ Ronald L. Hicks, Jr.
                                                   Ronald L. Hicks, Jr. (PA #49520)
                                                   Carolyn B. McGee (PA #208815)
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                                                   and

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JS 44 (Rev. 10/20)                                                             CIVIL COVER SHEET
The 7S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet.       (.SEC/NS"1'RUCT/ONS ONNEX7'YAGEOFTHlSFOltM.)
               LaiNTir r,s                                                                                     ll~:r~:N~AN~rs
            Donald J. Trump for President, Inc.                                                                Philadelphia County Board of Elections
    (b~ County of Residence of First Listed Plaintiff Washin4ton, ~C                                           County of Residence of First Listed Defendant Philadelphia
                          (EXCGPT /NUS PLA/NT/FF CASESJ                                                                               (!NUS. PLA/NT/FF CASES ONGYJ
                                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    ~C~     AttomeyS (Firm Name, Address, and Telephone Number)                                                Attorneys (IfKnownJ

            Ronald L. Hicks, Jr., Porter Wright, 6 PPG Place
            3rd Floor, Pittsburgh, PA 15222 - 412-235-4500
II. BASIS OF JURISDICTION (Place an "X" in One Bax only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (P~p~e on "x" in One Box jor Plarn~i/)-
                                                                                                           (For Diversity Cases Only)                                   and One Box jot Defendant)
    1     U.S. Government              Q3     Federal Question                                                                      PTF        DEF                                        PTF        DEF
            Plaintiff                           (U.S. Government Noy a Parry)                        Citizen of This State             ~ I    ~ 1     lncocporated or Principal Place     ~ 4        ~4
                                                                                                                                                         of Business In This State

    2     U.S. Government             ~4      Diversity                                              Citizen of Mother State           ~2     ~ 2     Incorporated and Principal Place    ~ 5        ~5
            Defendant                          (lndicale Citizenship ofParties in Item ///)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ~ 3    ~ 3     Foreign Nation                      ~ 6        ~6
                                                                                                       Foreign Country
N. NATiIRF, nF SiJiT ~P~„~o ~., -~v" ;., n~o u.,r n.,i,d                                                                                 ('.lick here fnr• Nafiire of Snit Gr~e Tlacrrintinnc
             CONTRACT                                              TORTS                                FORFEITURE/PENALTY                    BANHItUPTCY                      OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY               625 Drug Related Seizure         e 422 Appeal 28 USC 158             375 False Claims Act
    120 Marne                           310 Airplane                    ~ 365 Personal Injury -             of Property 21 USC 881         423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                  Product Liability         690 Other                              28 USC 157                        3~29(a))
    140 Negotiable Instrument               Liability                   ❑ 367 Health Care/                                                                                   400 State Reapportionment
    I50 Recovery oEOverpayment          320 Assault, Libel &                  Pharmaceutical                                                 ROPERT RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                           Personal Injury                                                820 Copyrights                  430 Banks and Banking

B   I51 Medicare Act
    l52 Recovery of Defaulted
         Student Loans
                                        330 Federa] Employers'
                                            Liability
                                        340 Msnne
                                                                              Product Liability
                                                                        ~ 368 Asbestos Personal
                                                                              Injury Product
                                                                                                                                             830 Patent
                                                                                                                                             835 Patent -Abbreviated
                                                                                                                                                 New Drug Application
                                                                                                                                                                             450 Commerce
                                                                                                                                                                             460 Deportation
                                                                                                                                                                             470 Racketeer Influenced and
        (Excludes Veterans)             345 Marine Product                    Liability                                                      840 Trademark                       Cortupt Organizations
    153 Recovery of Overpayment             Liability                    PERSONAL PROPERTY                        LAB R -                    880 Defend Trade Secrets        480 Consumer Credit
        of Veteran's Benefits           350 Motor Vehicle                 370 Other Ftaud               710 Fair Labor Standards                 Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders' Suits             355 Motar Vehicle               e 371 Truth in Lending              Act                                                              485 Telephone Consumer
    190 Other Contract                      Product Liability           ~ 380 Other Personal            720 Lebor/Management                SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                    Property Damage               Relations                      861 HIA (1395f~                   490 Cable/Sat TV
    196 Franchise                           Injury                      ~ 385 Property Detnage          740 Railway Labor Act              862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal injury -                 Product Liability         751 Family and Medical             863 DIWC/DIWW (405(8))                 Exchange
                                            Medical Malpractice                                             Leave Act                      864 SSID Title XVI                890 Other Statutory Actions
          REAL PROPERTY                   CIVIL RIGHTS                    PRISONER PETITIONS            790 Other Labor Litigation       ~ 865 RSi (405(g))                  891 Agricultural Acts
    210   Land Condemnation           x 440 Other Civil Rights             Habeas Corpus:               791 Employee Rerirement                                              893 Environmental Matters
    220   Foreclosure                   441 Voting                         463 Alien Detainee               Income Security Act             EDE                              895 Freedom of Information
    230   Rent Lease & Ejectrnent       442 Employment                     S 10 Motions to Vacate                                        ~ 870 Taxes (U.S. Plaintiff              Act
    240   Torts to Land                 443 Housing/                            Sentence                                                        or Defendant)                896 Arbitration
    245   Tort Product Liability            Accommodations                 530 General                                                     871 [RS—Third Party               899 Administrative Procedure
    290   All Other Real Property       445 Amer. w/Disabilities    -      535 Death Penalty                lMM1GRAT10N `'<                     26 USC 7609                      AcdReview or Appeal of
                                            Employment                     Other:                       462 Naturalization Application                                           Agency Decision
                                        446 Amer. w/Disabilities    -      540 Mandamus &Other          465 Other Immigration                                                950 Constitutionality of
                                            Othet                          550 Civil Rights                 Actions                                                              State Statutes
                                        448 Education                      555 Prison Condition
                                                                           560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
V. VKIGIIV (Place an "X" in One Box Only)
  1 Original    ~2 Removed from                               3         Remanded from          ~ 4 Reinstated or       ~ 5 Transferred from          ~ 6 Multidistrict            ~ 8 Multidistrict
    Proceeding        State Court                                       Appellate Court            Reopened                Another District              Litigation -                 Litigation -
                                                                                                                           (spec~)                       Transfer                     Direct File
                                             e the U.S. Civil Statute under which you are filing (Do nor citejurisdictionnlstntures ~rn[ers diversrry):
                                             USC 1983
VI. CAUSE OF ACTION                             description of cause:
                                                3ency Federal Election Matter
VII.      REQUESTED IN                   ❑ CHECK IF THIS IS A CLASS ACTION                              DEMAND $                                   CHECK YES only if demanded in complaint:
          COMPLAINT:                       UNDER RULE 23, F.R.Cv.P.                                                                                JURY DEMAND:               ❑Yes        ~No

VIII. RELATED CASES)
                                             (See rnstrucrions):
      IF ANY                                                                   GE                                              ~_ DOCKET NUMBER
                                                                   i                                i
                                                                           S
November 5, 2020
FOR OFFICE USE ONLY

  RECEIPT #                         AMOUNT                                      APPLYING 1FP                                   JUDGE                         MAG. JUDGE
                                                              UNITED STATES DISTRICT COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION FORM
                      (to be used by counsel or pro se plaintiff ~o indicate the category of the case for the purpose of assignment !o the appropriate calendar)

 Address of Plaintiff:                                                                  WBSI"111'1gt011, ~C

 Address of Defendant:                                                                   Philadelphia, PA
 Place of Accident, Incident or Transaction.                                                           Philadelphia, PA


 RELATED CASE, IF ANY.•

 Case Number:                                                     Judge:                                                      Date Terminated:

 Civil cases are deemed related when Yes is answered to any of the following questions:

 1.     Is this case related to property included in an earlier numbered suit pending or within one year                          Yes ❑                 No
        previously terminated action in this court?

 2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes ❑                  No
        pending or within one year previously terminated action in this court?

 3.     Does this case involve the validity or infringement of a patent already in suitor any earlier                            Yes ❑                  No
        numbered case pending or within one year previously terminated action of this court?

4.      Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes ❑                  No
        case filed by the same individual?

I certify that, to my knowledge, the within case ❑ is / Q ' not relate to any ca                         now    riding or    ithin one year previously terminated action in
this court except as noted above.

DATE: 1 1 /O~/2~2~                                                                    Must sign here                                              49520
                                                                           Attorney-at-Law /Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a ~ in one category only)

A.            Federal Question Cases:                                                        B.   DiversiryJurisdiction Cases:

❑      1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.     Insurance Contract and Other Contracts
❑      2.     FELA                                                                                2.     Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                     ❑     3.     Assault, Defamation
       4.     Antitrust                                                                           4.     Marine Personal Injury
       5.     Patent                                                                              5.     Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.     Other Personal Injury (Please specify):
❑✓     7.     Civil Rights                                                                        7.     Products Liability
❑      8.     Habeas Corpus                                                                       8.     Products Liability —Asbestos
       9.     Securities Acts) Cases                                                              9.     All other Diversity Cases
       10.    Social Security Review Cases                                                               (Please spec):
       11.    All other Federal Question Cases
              (Please specify):



                                                                             ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration.)

I             Ronald L. Hicks, J r.                         ,counsel of record or pro se plaintiff, do hereby certify:


      ❑       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:


      a       Relief other than monetary damages is sought.

                                                                                             ~Y
DATE      11 /05/2020                                                             Sign here if applica                                            49520
                                                                           Attorney-at-Law✓Pro Se Plaintiff                                Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/20/8)
